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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  Case No.: 0:16-cv-61729-DPG

  SYMBOLOGY INNOVATIONS, LLC,

         Plaintiff/Counterclaim Defendant

  v.

  BROTHER INTERNATIONAL
  CORPORATION,

         Defendant/Counterclaim Plaintiff.


              PLAINTIFF’S ANSWER TO DEFENDANT’S COUNTERCLAIM

         Plaintiff SYMBOLOGY INNOVATIONS, LLC, by and through its undersigned counsel,

  hereby sets forth its Answer to Defendant BROTHER INTERNATIONAL CORPORATION’s

  Counterclaim, as follows:

                                      COUNTERCLAIMS

                                             PARTIES

         1.     Admit.

         2.     Admit.

                                  NATURE OF THE ACTION

         3.     Admit.

         4.     Plaintiff admits the first sentence of Paragraph 4 and denies the second sentence

  and remaining allegations contained in Paragraph 4.

         5.     Admit.

         6.     Denied.




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                                  JURISDICTION AND VENUE

         7.      Plaintiff admits Paragraph 7 for jurisdictional purposes only.

         8.      Plaintiff admits Paragraph 7 for venue purposes only.

         9.      Admit.

                                             COUNT I
                                 (Declaration Of Non-Infringement)

         10.     Plaintiff restates and realleges its Answers to Paragraphs 1 through 9, above, as if

  more fully set forth herein.

         11.     Denied.

         12.     Denied.

         13.     Denied.

         14.     Denied.

                                            COUNT II
                                     (Declaration of Invalidity)

         15.     Plaintiff restates and realleges its Answers to paragraphs 1 through 9, above, as if

  more fully set forth herein.

         16.     Denied.

         17.     Denied.

         18.     Denied.

         19.     Denied.

         20.     Denied.

         21.     Denied.

         22.     Denied.

         23.     Denied.



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          24.     Denied.

          25.     Denied.

                                          COUNT III
                    (Declaration Of Unenforceability for Inequitable Conduct)

          26.     Plaintiff restates and realleges its Answers to Paragraphs 1 through 17, above, as

  if more fully set forth herein.

          27.     Denied.

          28.     Denied.

          29.     Denied.

          30.     Denied.

          31.     Plaintiff is without knowledge regarding the truth of the allegations contained in

  Paragraph 31 and therefore denies same.

          32.     Denied.

          33.     Denied.

          34.     Denied.

          35.     Denied.

          36.     Denied.

          37.     Denied.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff demands judgment and relief against Defendant and respectfully

  requests that the Court:

          A.      Enter a finding in favor of Plaintiff and against Defendant on each of the

  Counterclaims;

          B.      Grant in favor of Plaintiff and against Defendant the relief sought in the


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  Complaint; and

         C.      Award in favor of Plaintiff and against Defendant such other and further relief as

  to the court appears just and proper.



  Dated: September 26, 2016                   Respectfully submitted,

                                                /s/ Joel B. Rothman
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                                 CERTIFICATE OF SERVICE

          The undersigned does hereby certify that on September 26, 2016, a true and correct copy
  of the foregoing document was sent via electronic mail by the Court’s CM/ECF System to all
  parties listed below on the Service List.

                                               /s/ Joel B. Rothman
                                              JOEL B. ROTHMAN

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